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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                      *
vs.                                                *   Case No.: 22-15 APM
THOMAS E. CALDWELL                                 *
         *      *       *      *      *       *        *      *        *     *      *
                UNOPPOSED REQUEST TO AMEND CONDITIONS OF RELEASE


         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David W.

Fischer, Esq., and respectfully requests that the Court amend the conditions of release in this matter,

and in support of said motion states as follows:

      1. Assistant U.S. Attorney Kathryn Rakoczy does not oppose the instant request.

      2. The Defendant is scheduled to have an MRI on January 23, 2024 at 8:15 a.m. at the Valley

         Health Winchester Outpatient Diagnostic Center.

      3. The MRI procedure cannot be conducted while the Defendant is wearing an ankle monitor.

      4. The Defendant requests permission to remove and reattach his ankle monitor, as approved by

         Pretrial Services, for his MRI appointment.

      WHEREFORE, the Defendant respectfully requests that the Court authorize, with the approval of

Pretrial Services, the temporary removal of the Defendant’s location monitor for his MRI appointment

on January 23, 2024 at 8:15 a.m.



                                                                 /s/
                                                       David W. Fischer, Esq.
                                                       Federal Bar No. 023787
                                                       Law Offices of Fischer & Putzi, P.A.
                                                       Empire Towers, Suite 1007
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                                                       (410) 787-0826
                                                       Attorney for Defendant
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                                  CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 11th day of January, 2024, a copy of the foregoing
Unopposed Request to Amend Conditions of Release was electronically filed with the Clerk of the
United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                          /s/
                                                  David W. Fischer, Esq.
